
liARMSTRONG, Judge,
concurs with reasons.
I respectfully concur in the result. A remand is advisable because it appears that there may have been a misunderstanding in the proceedings below. In particular, the appellant’s brief indicates that the appellant believed that only his exceptions, and not the plaintiffs motion for preliminary injunction, were being considered, and would be ruled upon, by the trial court. As there is no transcript of the proceedings below, we cannot determine exactly what happened. As about seven years elapsed from the time of the partition agreement until the petition for supplemental partition, there does not appear to be any great urgency that would militate against the delay necessary to clarify the situation. Therefore, the most prudent course is to remand for further proceedings.
